                  Case 2:13-cv-00193 Document 775-10 Filed on 11/19/14 in TXSD Page 1 of 1
From                                         CharneyJimmy HHSC
To                                           Nolte   Candace

Sent                                         10172013     110717 AM
Subject                                      HHSC     Voter ID Assistance




Candace       I   understand you are in a meeting but was hoping we could speak today regarding a request one of our

local   offices   got from a Frances                   Gomez I    believe in your Drivers License Division



Sounds     like   maybe there is an outreach                    effort for the   voter ID certificates   and you were looking   to   have   staff located

in   our Lampasas office                     for   a few days   jimmy



Jimmy Charney
External    Relations Division

Health    and Human Services                        Commission

512 4246932




      2:13-cv-193
                        exhibitsticker.com




      09/02/2014

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